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                       5   Attorney for Defendant
                           DAVID DOMINGUEZ
                       6
                       7                                             UNITED STATES DISTRICT COURT
                       8                                          NORTHERN DISTRICT OF CALIFORNIA
                       9                                                    SAN FRANCISCO DIVISION
                   10
                           UNITED STATES OF AMERICA,                                            Case No. CR 05 00117 PJH (JCS)
                   11
                                                 Plaintiff,
                   12
                                 v.                                                             STIPULATION AND [PROPOSED]
                   13                                                                           ORDER RE: MODIFY RELEASE
                                                                                                CONDITION
                   14      DAVID DOMINGUEZ, et. al
                   15                            Defendants.
                   16                                                                 /
                   17
                                      Defendant DAVID DOMINGUEZ, by and through his counsel Michael L. Hinckley,
                   18
                           Defendant Rubin Campos, by and through his counsel Suzanne Luban, and the United States of
                   19
                           America, through Assistant United States Attorney David Hall, hereby stipulate and agree to a
                   20
                           modification of the aforementioned defendants’ pretrial release conditions such that they be
                   21
                           permitted to have contact with each other during the pendency of the case. All other terms and
                   22
                           conditions are to remain the same.
                   23
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                           U.S. v. DAVID D OM ING UEZ, C R 05-00117 PJH
     Law Offices           Stip. & [Proposed] O rder R e: M odify Release Condition
Stiglich & H inckley                                                                      -1-
                            Case 4:05-cr-00117-PJH                Document 66   Filed 01/03/06      Page 2 of 3



                       1            The defense has notified Pretrial Services Officer Victoria Gibson of this request but
                       2   have not heard back from her..
                       3            IT IS SO STIPULATED.
                       4
                       5   Dated: 12/20/2005                                             /S/
                                                                          MICHAEL L. HINCKLEY
                       6                                                  Attorney for Defendant
                                                                          DAVID DOMINGUEZ
                       7
                       8   Dated: 12/20/2005                                             /S/
                                                                          SUZANNE LUBAN
                       9                                                  Attorney for Defendant
                                                                          RUBIN CAMPOS
                   10
                   11      Dated: 12/20/2005              .                               /S/
                                                                          DAVID HALL
                   12                                                     Assistant United States Attorney
                   13
                   14                                                     ORDER
                   15
                                    Pursuant to stipulation, the aforementioned defendant’s pretrial release conditions are
                   16
                           modified such that they are permitted to have contact with each other during the pendency of the
                   17
                           case. All other terms and conditions are to remain the same.
                   18
                   19               IT IS SO ORDERED.
                   20
                   21      Dated:     January 3, 2006         .
                                                                          HON. JOSEPH C. SPERO
                   22                                                     United States Magistrate Judge
                   23
                   24
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                   28
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Stiglich & H inckley
                             Case 4:05-cr-00117-PJH                         Document 66          Filed 01/03/06   Page 3 of 3



                       1                                                         PROOF OF SERVICE
                       2
                                      I, the undersigned say:
                       3
                                      I am over eighteen years of age and not a party to the above action. My business address
                       4
                           is 1306 Pine Street, Walnut Creek, California 94596.
                       5
                                      I personally caused to be served a copy of the attached on the following:
                       6
                       7
                                                              Victoria Gibson
                       8                                      United States Pretrial Services Officer
                                                              450 Golden Gate Avenue, Box 36108
                       9                                      San Francisco, CA 94102
                   10
                   11                 I declare under penalty of perjury that the foregoing is true and correct. Executed on
                   12      12/20/05                                             , at Walnut Creek, California.
                   13
                           Dated: 12/20/2005                                                            /S/
                   14                                                                    MICHAEL L. HINCKLEY
                                                                                         Attorney for Defendant
                   15                                                                    DAVID DOMINGUEZ
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                           U.S. v. DAVID D OM ING UEZ, C R 05-00117 PJH
     Law Offices           Stip. & [Proposed] O rder R e: M odify Release Condition
Stiglich & H inckley                                                                       -3-
